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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA


 IN RE MEDIA APPLICATION FOR
 AUDIOVISUAL ACCESS TO TRIAL                        Case No. 23-mc-99 (TSC)
 PROCEEDINGS IN UNITED STATES OF
 AMERICA V. DONALD J. TRUMP


 IN RE APPLICATION OF
 NBCUNIVERSAL MEDIA, LLC TO                         Case No. 23-mc-107 (TSC)
 PERMIT VIDEO AND AUDIO OF TRIAL
 PROCEEDINGS IN UNITED STATES V.
 DONALD TRUMP



       UNITED STATES’ RESPONSE TO MEDIA COALITION’S NOTICE OF
                      SUPPLEMENTAL AUTHORITY

        In a notice of supplemental authority, the Media Coalition suggests (ECF No. 24 at 1-

2) that a public advisory that announced the live streaming of an oral argument before the

D.C. Circuit supports the Media Coalition’s petition. The live streaming was routine, and the

Media Coalition’s suggestion is unfounded.

        The fact that the D.C. Circuit live streams oral arguments—and has for more than five

years—bears no relevance to the Media Coalition’s petition. As the Government pointed out

in its response to the petition, when the Judicial Conference in March 1996 amended its

broadcast policy to permit the broadcasting of appellate arguments, it reconfirmed its

opposition to any broadcasting of district court proceedings. See ECF No. 16 at 4; see Guide

to        Judiciary        Policy,       Vol. 10,          ch.        4      §       410.10,

https://www.uscourts.gov/sites/default/files/1996-03.pdf. Consistent with that policy change,

the D.C. Circuit began live streaming all oral arguments on September 5, 2018, after having

done      so     upon      request     beginning      in         October   2017.         See
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https://www.cadc.uscourts.gov/internet/home.nsf/Content/Announcement+-

+November+8%2C+2017+-+Policy+Regarding+Live+Audio+Streaming+of+Arguments.

       To the extent that the Media Coalition supplemental notice implies that the D.C.

Circuit’s live streaming practice violates Rule 53 of the Federal Rules of Criminal

Procedure, that implication is incorrect. Rule 53’s prohibition on broadcasting judicial

proceedings from the courtroom applies “[e]xcept as otherwise provided by a statute or

these rules.” Fed. R. Crim. P. 53. Such an exception exists here: under 28 U.S.C.

§ 332(d)(1), each circuit judicial council is empowered to “make all necessary and

appropriate orders for the effective and expeditious administration of justice within its

circuit.” Section 332(d)(1) thus fully authorized the D.C. Circuit to adopt its live streaming

policy in 2018.      In any event, that exception in the court of appeals has no effect on

Rule 53’s clear prohibition against “broadcasting of judicial proceedings from the

courtroom” by this Court or any other United States District Court.



                                                      Respectfully submitted,

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